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19                                  UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEVADA
20
     RICHARD GIBSON, and HERIBERTO                   No. 2:23-CV-00140-MMD-DJA
21   VALIENTE,
                  Plaintiffs,                        STIPULATION AND ORDER TO
22                                                   EXTEND TIME TO RESPOND/REPLY
             v.                                      TO DEFENDANTS’ JOINT MOTION
23                                                   TO DISMISS THE COMPLAINT AND
     MGM RESORTS INTERNATIONAL,                      MGM RESORTS INTERNATIONAL’S
24   CENDYN GROUP, LLC, THE RAINMAKER                SEPARATE MOTION TO DISMISS
     GROUP UNLIMITED, INC., CAESARS
25   ENTERTAINMENT INC., TREASURE                    (FIRST REQUEST)
     ISLAND, LLC, WYNN RESORTS
26   HOLDINGS, LLC,
27                        Defendants.
28
     STIPULATION & ORDER FOR EXTENSION
     No. 2:23-cv-00140-MMD-DJA
           Case 2:23-cv-00140-MMD-DJA Document 96 Filed 04/03/23 Page 2 of 8



 1                                           STIPULATION
 2          Plaintiffs Richard Gibson and Heriberto Valiente (“Plaintiffs”) and Defendants MGM
 3   Resorts International, Cendyn Group, LLC, The Rainmaker Group Unlimited, Inc., Caesars
 4   Entertainment Inc., Treasure Island, LLC, and Wynn Resorts Holdings, LLC (collectively
 5   “Defendants”), by and through their respective counsel, hereby stipulate and agree as follows:
 6          1.      On March 27, 2023, Defendants filed a Joint Motion to Dismiss the Complaint with
 7   Prejudice (ECF No. 91). The same day, Defendant MGM Resorts International filed a Separate
 8   Motion to Dismiss (ECF No. 92).
 9          2.      Plaintiffs’ oppositions are currently due on April 10, 2023, with Defendants’ reply
10   briefs due on April 17, 2023.
11          3.      Plaintiffs shall have up to and including May 11, 2023, to oppose Defendants’ Joint
12   Motion to Dismiss the Complaint with Prejudice (ECF No. 91) and MGM’s Separate Motion to
13   Dismiss (ECF No. 92).
14          4.      Defendants shall have up to and including June 12, 2023, to file their reply
15   memoranda.
16          5.      This Stipulation and amended briefing schedule has been entered into by the parties
17   given the complex nature of the motions before the court and as a professional courtesy to
18   Plaintiffs, who previously agreed to a similar extension for Defendants to respond to the
19   Complaint. Accordingly, good cause exists for the foregoing extension, which is not made for
20   purposes of delay.
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                                  UNITED STATES DISTRICT COURT
 9                                     DISTRICT OF NEVADA
10   RICHARD GIBSON, and HERIBERTO               No. 2:23-CV-140-MMD-DJA
     VALIENTE, on behalf of themselves and
11                                               [PROPOSED] ORDER
     others similarly situated,
12
                         Plaintiffs,
13
             v.
14
     MGM RESORTS INTERNATIONAL,
15   CENDYN GROUP, LLC, THE RAINMAKER
     GROUP UNLIMITED, INC., CAESARS
16   ENTERTAINMENT INC., TREASURE
     ISLAND, LLC, WYNN RESORTS
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     HOLDINGS, LLC,
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                         Defendants.
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     [PROPOSED] ORDER
     Case No. 2:23-cv-00140-MMD-JDA
          Case
           Case2:23-cv-00140-MMD-DJA
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 1           THIS MATTER having come before the Court on the foregoing Stipulation of the parties.
 2   Based on the foregoing Stipulation, the Court hereby ORDERS that:
 3           1.      Plaintiffs shall file their opposition to Defendants’ Joint Motion to Dismiss the
 4   Complaint with Prejudice (ECF No. 91) on or before May 11, 2023.
 5           2.      Plaintiffs shall file their opposition to MGM Resorts International’s Separate
 6   Motion to Dismiss (ECF No. 92) on or before May 11, 2023.
 7           3.      Defendants shall file their reply in support of their Joint Motion to Dismiss the
 8   Complaint with Prejudice (ECF No. 91) on or before June 12, 2023.
 9           4.      MGM Resorts International shall file its reply in support of its Separate Motion to
10   Dismiss (ECF No. 92) on or before June 12, 2023.
11

12                                                ORDER
13                                                     IT IS SO ORDERED:
14

15                                                     UNITED STATES MAGISTRATE JUDGE

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                                                       DATED: _________________
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     [PROPOSED] ORDER - 1
     Case No. 2:23-cv-00140-MMD-DJA
